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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WISCONSIN


 UNITED STATES OF AMERICA,

                             Plaintiff,
                                                              FINAL HEARING ORDER
        v.
                                                                     20-CR-06-jdp
 JAY LIESTMAN,

                             Defendant.


       The court held a final hearing by video conference on September 16, 2020. This order

summarizes the matters addressed at the hearing, and it rules on the issue of whether the

government may introduce evidence of defendant’s prior conviction for possession of child

pornography.

A. Matters addressed at the final hearing

       Jury selection will begin at 9:00 a.m. on Monday, September 21, 2020. The trial will

begin at 9:00 a.m. on Wednesday, September 23, 2020. Counsel should be in court at 8:30

a.m. on September 21 to address any last-minute pretrial concerns.

       The court heard the parties on the matter of voir dire and jury instructions. The court

circulated revised draft voir dire and jury instructions on September 17. Dkt. 61. The parties

were given until 4:00 p.m. on September 18 to make any further submissions.

       The court will empanel a jury of 12, with two alternates.

       The court will allow the government to provide a binder of exhibits for each juror.

Defense counsel must be given the opportunity to review each of the binders before they are

distributed to the jury.
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       The court granted the government’s motions in limine on entrapment, Dkt. 30;

improper hearsay, Dkt. 31; penalties, Dkt. 32; and reasonable doubt, Dkt. 33.

       Defendant’s pretrial motions are in Dkt. 35. The court granted the motions to disclose

the prospective juror list and to take a recess after showing the video evidence. The court denied

defendant’s motion to allow attorneys to conduct voir dire and to instruct on reasonable doubt.

       The court also denied the request to allow counsel to exercise peremptory strikes only

after the examination of all prospective jurors is complete. Because of the risk of COVID-19

transmission, the court will conduct jury selection in two waves, to limit the number of

prospective jurors present at the courthouse at one time. Defendant’s proposal would require

the assembly of 40-some jurors at once, and the courthouse does not have the capacity to keep

that many jurors safely distanced. The parties will have to budget their peremptory strikes,

exercising them in two waves.

       The court denied the defendant’s request to limit the introduction of actual child

pornography, because the government had already stated its intent to limit that evidence to

four minutes of video. At the hearing, the government indicated that it would introduce only

two and one-half minutes of video. The government provided the court with that evidence,

which the court has reviewed. The court is satisfied that the government has appropriately

limited the quantity of the video evidence. Although child pornography is inherently

disturbing, the government’s selection does not contain material that is violent or needlessly

disturbing.

B. Defendant’s prior conviction

       Defendant was previously convicted of attempted child enticement and possession of

child pornography in Eau Claire County Case number 2013CF692. The government intends


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to introduce evidence of defendant’s conviction for possession of child pornography, and it has

filed the requisite notice. Dkt. 26. The government argues for the admissibility of this

conviction under Federal Rule of Evidence 414 in its trial brief. Dkt. 42, at 4–12.

       Defendant has submitted a brief in opposition. Dkt. 60. Defendant’s main argument is

that I should construe Rule 414 to be restricted to prior convictions involving a “child,” which

the rule defines as a person below the age of 14. Defendant also argues that even if the

conviction is admissible under Rule 414, I should exclude it as unfairly prejudicial under Rule

403.

       Defendant is right that defendant’s conviction for child enticement does not fall within

the scope of Rule 414, because the fictitious victim was 14 years old. The child enticement

conviction falls under the definition in Rule 414(d)(2)(A), which applies only when a Chapter

109A offense (or its state-law equivalent) is committed with a child. But the possession of child

pornography conviction falls under the definition in 414(d)(2)(B), which applies to all Chapter

110 offenses, without regard to whether the minor victim was a child.

       Defendant relies on United States v. Angle, 234 F.3d 326, 341–42 (7th Cir. 2000), which

confirms that Rule 414 applies to child abuse convictions only if the victim is younger than

14. Angle doesn’t address child pornography offenses. And, as defendant concedes, United States

v. Foley, 740 F.3d 1079, 1088 n.1 (7th Cir. 2014) says that under Rule 414, admissible child

pornography convictions are not limited to those with “child” victims.

       Defendant makes a creditable policy argument that it would make more sense to limit

the rule to the more serious child pornography offenses that involve younger victims, while

allowing the rule to cover all hands-on offenses with minors. But the policy argument can’t

overcome the plain language of the rule. Defendant’s conviction for possession of child


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pornography falls under the definition in 414(d)(2)(B), which means that I may admit it for

any purpose for which it is relevant.

       But I still must consider the conviction under Rule 403, which means that I would

exclude it if its probative value were substantially outweighed by unfair prejudice. Defendant

doesn’t make much of an argument on this point, contending essentially that the evidence is

unfair because it would be especially powerful. But that’s not a basis to exclude it under Rule

403.

       Defendant’s prior conviction is relevant to his sexual interest in children and child

pornography, demonstrating distinctive proclivities not present in the general population. Thus

the prior conviction is highly relevant. Propensity evidence is generally excluded under the rules

of evidence, but it is allowed under Rule 414. Foley, 740 F.3d at 1088. As the government

points out, the prior conviction and the charges here are highly similar. The prior conviction

was seven years prior, neither particularly recent nor in the distant past, but defendant has

pointed to no intervening events that diminish its relevance or make the admission unfair. The

government may be able to prove its case without the prior conviction, but defendant’s

knowledge that the material connected to the internet link is a critical issue in the case.

Defendant’s prior conviction would show that he was familiar with child pornography, where

it could be found, and how it was distributed. So the conviction is relevant for non-propensity

purposes as well. (Although I would not admit evidence of the conviction under Rule 404(b),

because the propensity purpose will surely figure prominently in the minds of the jurors.)




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       In sum: defendant’s prior conviction for possession of child pornography may be

admitted, even for propensity purposes, under Rule 414. The conviction is highly relevant, and

I see no risk of unfair prejudice, and thus I find no reason to exclude it under Rule 403.

       Entered September 18, 2020.

                                            BY THE COURT:

                                            /s/
                                            ________________________________________
                                            JAMES D. PETERSON
                                            District Judge




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